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                            IN THE UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MISSOURI
                                   SOUTHEASTERN DIVISION


UNITED STATES OF AMERICA,                     )
                                              )
               Plaintiff,                     )
                                              )
       vs.                                    ) No. 1:16CR00059SNLJ
                                              )
GLEN YANDELL,                                 )
                                              )
       Defendant.                             )


              MOTION FOR PREHEARING DETENTION AND HEARING

       Comes now the United States of America, by and through its attorneys, Sayler A.

Fleming, United States Attorney for the Eastern District of Missouri, and Timothy J. Willis,

Assistant United States Attorney for said District, and moves the Court to order defendant

detained pending a revocation hearing, and further requests that a detention hearing be held three

(3) days from the date of defendant’s initial appearance before the United States Magistrate

pursuant to Title 18, United States Code, Section 3141, et seq. and Federal Rule of Criminal

Procedure 32.1.

       As and for its grounds, the Government states as follows:

       1.      Defendant has failed to comply with the instructions of his probation officer and

the requirements of his release, and revocation of his supervised release has been requested.

       2.      There is a serious risk that the defendant will flee.

       3.      There are no conditions or combination of conditions which will reasonably

               assure the appearance of the defendant as required, and the safety of any other

               person and the community.
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       5.      Pursuant to Federal Rule of Criminal Procedure 32.1(a)(6), the burden of

establishing by clear and convincing evidence that the defendant will not flee or pose a danger to

any other person or the community rests with the defendant.

       WHEREFORE, the Government requests this Court to order defendant detained prior to a

revocation hearing, and further to order a detention hearing three (3) days from the date of

defendant’s initial appearance.

                                      Respectfully submitted,

                                      SAYLER FLEMING
                                      UNITED STATES ATTORNEY



                                      /s/ Timothy J. Willis
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